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 8                            UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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     MARISSA GLOVER,                              Case No.: 3:16-cv-01787-BEN-BLM
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                 Plaintiff,
13                                                ORDER GRANTING JOINT
           v.                                     MOTION TO DISMISS
14                                                DEFENDANT TRANSUNION
     KIA MOTORS AMERICA, INC. AND
15   TRANS UNION LLC,                             [Docket No. 11]
16               Defendants.
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           Plaintiff Marissa Glover and Defendant TransUnion LLC have filed a Joint
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     Motion to dismiss Defendant TransUnion without prejudice and with each party to bear
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     its own costs and attorneys’ fees. The Joint Motion is GRANTED and this action is
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     dismissed as to TransUnion.
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22         IT IS SO ORDERED.
23   Dated: August 29, 2016
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